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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

United States of America,

             Plaintiff,                              Criminal No. 19-cr-20026
v.
                                                    Hon. Gershwin A. Drain
D-3 Phanideep Karnati,

             Defendant.

                             Certificate of Service


      I hereby certify that on December 12, 2019 service was made upon the

following individuals and entities of the Notice of Preliminary Order of Forfeiture,

and Certificate of Service via certified mail and first class mail:

 Ramya Karnati
 25030 Independence Dr., Apt. 11101
 Farmington Hills, MI 48335

                                        Respectfully submitted,

                                        MATTHEW SCHNEIDER
                                        United States Attorney

                                        S/Gjon Juncaj
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